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 8                                      UNITED STATES DISTRICT COURT
 9                                 EASTERN DISTRICT OF CALIFORNIA
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11     SIERRA SCHOOL EQUIPMENT                          Case No. 1:23-cv-01496-JLT-CDB
       COMPANY,
12                                                      ORDER ADOPTING FINDINGS AND
                           Plaintiff,                   RECOMMENDATIONS GRANTING MOTION
13                                                      TO SET ASIDE CLERK’S ENTRY OF
                                                        DEFAULTS AGAINST DEFENDANTS
14               v.                                     PENSIONLABS INCORPORATED AND
                                                        MICHAEL HOLMAN
15     LAFAYETTE LIFE INSURANCE
       COMPANY, et al.                                  (Doc. 26)
16
                           Defendants.
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19              Sierra School Equipment Company initiated this action in Kern County Superior Court,
20    which asserts breach of contract and related claims concerning the marketing and provision of
21    pension plans. (Doc. 1.) Defendant Lafayette Life Insurance Company removed the case to this
22    Court based on diversity jurisdiction. (Id.) On November 29, 2023, at Plaintiff’s request, the
23    Clerk of Court entered default as to Pensionlabs Incorporated and Michael Holman. (Docs 11-12,
24    15-16.)
25              On January 8, 2024, the assigned magistrate judge issued Findings and Recommendations
26    concluding that Pensionlabs and Holman’s motion to set aside the default should be granted.
27    (Doc. 26.) The Court served the Findings and Recommendations on all parties and notified them
28    that any objections were due within 14 days. (Id. at 6-7.) The Court advised the parties that the
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 1    “failure to file objections within the specified time may result in the waiver of rights on appeal.”

 2    (Id., citing Wilkerson v. Wheeler, 772 F.3d 834, 838-39 (9th Cir. 2014).) No party filed objections

 3    or any other response, and the deadline to do so has passed.

 4           According to 28 U.S.C. § 636(b)(1)(C), this Court performed a de novo review of this

 5    case. Having carefully reviewed the matter, the Court concludes the Findings and

 6    Recommendations are supported by the record and proper analysis. Thus, the Court ORDERS:

 7       1. The Findings and Recommendations (Doc. 26) are ADOPTED IN FULL.

 8       2. The motion filed by Pensionlabs Incorporated and Michael Holman to set aside the Clerk

 9           of the Court’s entry of default (Doc. 18) is GRANTED, and the default is SET ASIDE as
10           to each defendant.

11       3. Pensionlabs Incorporated and Michael Holman responsive pleading SHALL be filed

12           within 14 days of entry of this order.

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      IT IS SO ORDERED.
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15       Dated:     January 25, 2024
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